        Case 1:16-cr-10236-MLW Document 175 Filed 04/27/20 Page 1 of 21



                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS




  UNITED STATES OF AMERICA

              v.
                                                          Criminal No. 16-10236-MLW
  ROBERT M. PENA,

         Defendant.




                      UNITED STATES’ OPPOSITION TO
                  DEFENDANT’S EMERGENCY MOTION FOR
            COMPASSIONATE RELEASE UNDER 18 U.S.C. § 3582(c)(1)(A)(i)

       The Court sentenced Robert Pena, the owner and operator of the now-defunct Mortgage

Security, Inc. (“MSI”), to 32 months in prison for stealing $2.5 million in mortgage loan

proceeds from the Government National Mortgage Association (“Ginnie Mae”). His fraud—a

systematic diverting of funds and falsification of records over approximately 18 months—

destroyed MSI, a financial institution, and left Ginnie Mae, a government corporation that helped

him over many years, to pick up the pieces. Now, citing the risk of COVID-19 infection, Mr.

Pena has moved the Court to resentence him pursuant to 18 U.S.C. § 3582(c)(1)(A)(i), to spend

the remainder of his sentence at his home, rather than at the Camp at Federal Medical Center,

Devens (“FMC Devens”).

       Mr. Pena also petitioned the Bureau of Prisons (“BOP”) for compassionate release. He

submitted that request on April 8, 2020. Two weeks later, on April 22, 2020, the BOP notified

him that the Warden of FMC Devens denied his petition. (See Ex. A.) The government

understands that Mr. Pena did not qualify for release under BOP policy, at least in part because
        Case 1:16-cr-10236-MLW Document 175 Filed 04/27/20 Page 2 of 21



he has served only six months imprisonment—less than a fifth of the term imposed by the Court.

Mr. Pena could pursue further administrative remedies, but as of this filing, the government is

not aware that Mr. Pena has done so. As discussed further below, given that further

administrative remedies are available and the fact that less than 30 days have passed since Mr.

Pena petitioned the BOP, the Court should deny his motion for failure to exhaust those remedies.

       Even looking past the exhaustion issue, Mr. Pena’s motion should fail on the merits. The

government is certainly mindful of the risks associated with the COVID-19 pandemic generally,

and in particular as it relates to inmates. Indeed, the government wishes that our society can

limit the virus’s spread, and that no one suffers significant complications from it, including Mr.

Pena. But considering all the circumstances—including Mr. Pena’s serious crime, his particular

circumstances, the BOP’s substantial efforts to prevent COVID infection among its inmates, the

actual conditions at FMC Devens, and the likelihood that home confinement would present a

substantial risk of infection compared to remaining in that facility—the government does not

believe that Mr. Pena has demonstrated “extraordinary and compelling reasons” under 18 U.S.C.

§ 3582(c)(1)(A)(i) for such a substantial change in his sentence.

                                        BACKGROUND

       I.      BOP Is Taking Extraordinary Steps to Prevent COVID-19 Infection.

       Contrary to what Mr. Pena’s motion suggests, the BOP has been taking extraordinary

steps to prevent the spread of COVID-19 in its facilities, including FMC Devens. Since at least

October 2012, the BOP has had a Pandemic Influenza Plan. (See BOP Health Management

Resources, https://www.bop.gov/resources/health_care_mngmt.jsp.) In January 2020, the BOP

began to plan specifically for COVID-19 to ensure the health and safety of inmates and BOP

personnel. (See BOP COVID-19 Action Plan, https://www.bop.gov/resources/news/

20200313_covid-19.jsp.) Since then, it has been monitoring and tracking the spread of the


                                                 2
        Case 1:16-cr-10236-MLW Document 175 Filed 04/27/20 Page 3 of 21



virus when the first cases appeared in the United States. (See Declaration of Megan Shaw,

M.D. (“Shaw Decl.”) ¶ 6, previously filed in Grinis v. Spaulding, No. 20-CV-10738-GAO (D.

Mass. 2020) [Dkt. No. 32-1], and attached here as Ex. B.) Recognizing the threat that this virus

could pose to its inmate population, the BOP began organizing its national pandemic response

through a multiphase “Action Plan.” (Id.)

       Phase One. As part of that Action Plan’s Phase One response, which began in January

2020, the BOP began to study where in the United States the infections were occurring and

best practices to mitigate the virus’s transmission. (Id. ¶ 7.) In addition, the BOP established

an agency task force to study and coordinate its response, including using “subject-matter experts

both internal and external to the agency including guidance and directives from the World Health

Organization (WHO), the Centers for Disease Control and Prevention (CDC), the Office of

Personnel Management (OPM), the Department of Justice (DOJ) and the Office of the Vice

President.” (Id.)

       Phase Two. On March 13, 2020, the BOP implemented its Phase Two response “to

mitigate the spread of COVID-19, acknowledging the United States will have more confirmed

cases in the coming weeks and also noting that the population density of prisons creates a risk

of infection and transmission for inmates and staff.” (See BOP COVID-19 Action Plan,

https://www.bop.gov/resources/news/20200313_covid-19.jsp.) These national measures are

intended to “ensure the continued effective operations of the federal prison system and to

ensure that staff remain healthy and available for duty.” (Id., accord Shaw Decl. ¶ 8.) For

example, the BOP (a) suspended social visits for 30 days (but increased inmate access to

telephone calls); (b) suspended legal visits for 30 days (with case-by-case accommodations); (c)

suspended inmate movement for 30 days (with case-by-case exceptions, including for medical




                                                3
        Case 1:16-cr-10236-MLW Document 175 Filed 04/27/20 Page 4 of 21



treatment); (d) suspended official staff travel for 30 days; (e) suspended staff training for 30

days; (f) restricted contractor access to BOP facilities to only those performing essential

services, such as medical treatment; (g) suspended volunteer visits for 30 days; (h) suspended

tours for 30 days; and (i) generally “implement[ed] nationwide modified operations to

maximize social distancing and limit group gatherings in [its] facilities.” (See BOP COVID-19

Action Plan, https://www.bopgov/resources/news/20200313_covid-19.jsp; accord Shaw Decl.

¶ 8.) In addition, the BOP implemented screening protocols for both staff and inmates, with

staff being subject to enhanced screening and inmates being subject to screening managed by

the BOP’s infectious disease management programs. (See BOP COVID-19 Action Plan,

https://www.bop.gov/resources/news/20200313_covid-19.jsp.) As part of the BOP’s inmate

screening process, (i) “[a]ll newly-arriving BOP inmates are being screened for COVID-19

exposure risk factors and symptoms;” (ii) “[a]symptomatic inmates with exposure risk factors

are quarantined; and (iii) “[s]ymptomatic inmates with exposure risk factors are isolated and

tested for COVID-19 per local health authority protocols.” (Id.; accord Shaw Decl. ¶¶ 9-11.)

       Phase Three. On March 18, 2020, the BOP implemented Phase Three, which entailed:

(a) implementing an action plan to maximize telework for employees and staff; (b) inventorying

all cleaning, sanitation, and medical supplies; (c) making sure that ample supplies were on hand

and ready to be distributed or moved to any facility as deemed necessary; and (d) placing

additional orders for those supplies, in case of a protracted event. (See BOP Update on

COVID-19, at ttps://www.bop.gov/resources/news/pdfs/20200324_bop_press_release_covid19

_update.pdf; Shaw Decl. ¶¶ 13-14.)

       Phase Four. On or about March 26, 2020, the BOP implemented Phase Four, which

entailed: (a) updating its quarantine and isolation procedures to require all newly admitted




                                                  4
        Case 1:16-cr-10236-MLW Document 175 Filed 04/27/20 Page 5 of 21



inmates to BOP, whether in a sustained community transition area or not, be assessed using a

screening tool and temperature check (including all new intakes, detainees, commitments, writ

returns from judicial proceedings, and parole violators, regardless of their method of arrival);

(b) placing asymptomatic inmates in quarantine for a minimum of 14 days or until cleared by

medical staff; and (c) placing symptomatic inmates in isolation until they test negative for

COVID-19 or are cleared by medical staff as meeting CDC criteria for release from isolation.

(See BOP COVID-19 Action Plan: Phase Five, https://www.bop.gov/resources/news/20200331

_covid19 _action_plan\_5.jsp; Shaw Decl. ¶ 15.)

       Phase Five. On March 31, 2020, the BOP implemented Phase Five, which entails: (a)

securing inmates in every institution to their assigned quarters for a 14-day period to decrease

the spread of the virus; (b) to the extent practicable, offering inmates access to programs and

services that are offered under normal operating procedures, such as mental health treatment

and education; (c) coordinating with the United States Marshals Service to significantly

decrease incoming movement; (d) preparing to reevaluate after 14 days and make a decision as

to whether or not to return to modified operations; and (e) affording limited group gathering to

the extent practical to facilitate commissary, laundry, showers, telephone, and Trust Fund

Limited Inmate Computer System (TRULINCS) access. (See BOP COVID-19 Action Plan:

Phase Five, https://www.bop.gov/resources/news/20200331_covid19_action_plan\_5; Shaw

Decl. ¶ 16.)

       Phase Six. On April 13, 2020, the BOP implemented Phase Six, which included

extended medical screening, limited inmate gatherings, daily rounds, limited external

movement, and fit testing. (See Shaw Decl. ¶ 17).




                                                 5
        Case 1:16-cr-10236-MLW Document 175 Filed 04/27/20 Page 6 of 21



       Efforts to Increase Home Confinement. “[M]any inmates will be safer in BOP

facilities where [infection within] the population is controlled and there is ready access to

doctors and medical care.” (See Declaration of Amber Bourke (“Bourke Decl.”) ¶ 4, previously

filed in Grinis v. Spaulding, 20-cv-10738-GAO [Dkt. No. 36-1] and attached here as Exhibit C.)

However, the BOP recognizes that, in some cases, home confinement might be more effective

in protecting an inmate’s health. (Id.) Accordingly, the BOP has also “increased Home

Confinement by over 40% since March and is continuing to aggressively screen all potential

inmates for Home Confinement.” (Update on COVID-19 and Home Confinement, https://

www.bop.gov/resources/news/20200405_covid19_home_confinement.jsp.) In addition, the

BOP “has begun immediately reviewing all inmates who have COVID-19 risk factors, as

described by the CDC, starting with the inmates incarcerated at [certain facilities with COVID-

19 outbreaks] to determine which inmates are suitable for home confinement.” (Id.)

       Additional Measures. The BOP’s efforts are ongoing. Most recently, the BOP

announced expanded COVID-19 testing of inmates utilizing Rapid RNA testing at facilities

experiencing widespread transmission. (See BOP Expands COVID-19 Testing,

https://www.bop.gov/resources/news/20200424_expanded_testing.jsp.) In addition to

confirming which inmates are infected, this testing is intended to identify asymptomatic and

pre-symptomatic inmates to assist the BOP in slowing transmission and isolating those

individuals who test positive. (Id.) The BOP expects to expand its rapid testing capability in

the coming weeks and deploy these capabilities “based on facility need to contain widespread

transmissions and the need for early, aggressive interventions required to slow transmission at

facility with a high number of at-risk inmates such as medical referral centers.” (Id.)




                                                  6
        Case 1:16-cr-10236-MLW Document 175 Filed 04/27/20 Page 7 of 21



       II.     FMC Devens, in Particular, Has Successfully Prevented the Spread of
               COVID-19 at the Medical Center and the Camp.

       Contrary to what Mr. Pena’s motion portrays, the facility has taken—and continues to

take—extraordinary steps to prevent infection, under the BOP’s COVID-19 Action Plan.

       FMC Devens is an Administrative security level institution designed to house

approximately 1,200 inmates at the main facility and approximately 128 inmates at the adjacent

Federal Prison Camp (“the Camp”), where Mr. Pena is located. (See Bourke Decl. ¶ 24.) The

Camp houses inmates with much lower incidence of the CDC risk factors for increased mortality

with COVID-1, compared to the elderly and more medically complicated inmates at the Federal

Medical Center facility. (Shaw Decl. ¶ 61.) The main Federal Medical Center facility and the

Camp are separate facilities, and the inmate populations do not interact with one another. Id. As

a result, Mr. Pena interacts with a small fraction of the inmates and staff. The Health Services

Department at FMC Devens is staffed by a comprehensive team of BOP and Public Health

Service health care workers. (Shaw Decl. ¶ 2-4.) The facility offers “comprehensive ambulatory

care addressing primary care, chronic care, emergent and acute care.” (Id.)

       FMC Devens has implemented BOP’s Action Plan, in compliance with BOP’s national

directives, and has also taken numerous other measures to fight the introduction and spread of

COVID-19 within its facilities, such as: providing inmate and staff education; conducting inmate

and staff screening; putting into place testing, quarantine, and isolation procedures in accordance

with BOP policy and CDC guidelines; ordering enhanced cleaning and medical supplies;

instituting a “grab and go” meal system and staggered meal times; and adjusting programming to

ensure that inmates from different housing units do not mix. (Shaw Decl. ¶¶ 12, 19-59.)

       At the Camp in particular, FMC Devens has taken additional steps, including:

       Inmate Screening. All inmates are screened daily for symptoms of COVID-19 and



                                                 7
        Case 1:16-cr-10236-MLW Document 175 Filed 04/27/20 Page 8 of 21



fever and, if positive, placed in isolation at the Federal Medical Center facility. (Shaw Decl.

¶ 60.) The Camp has established an Isolation Exam Room in order to immediately isolate any

symptomatic inmate away from the rest of the Camp inmates. (Id.) The Camp staff are being

screened prior to work with the same enhanced procedures. (Id. ¶ 63.)

       Social Distancing. The Camp as a whole is sheltering in place and Health Services is

providing medical care at the Camp. (Id. ¶ 62.) In addition, any Camp inmates needing to go

to the FMC Health Services Division or Dental are being assigned a staggered scheduling time

so that they are not exposed to any other inmates. (Id.) All work assignments have been

changed so that no inmates are going into the community. (Id. ¶ 61.) Camp staff and inmates

must wear facemasks at all times. (Id. ¶ 63.)

       Identifying Inmates for Expanded Home Confinement. Like the BOP more generally,

FMC Devens is in the process of transitioning appropriate inmates to home confinement,

consistent with its internal policies and procedures. Health Services staff developed a tool to

identify high-risk inmates per the CDC website definition and are screening these inmates for

referral to expanded home confinement. (Shaw Decl. ¶ 57.) This analysis includes education

and collaboration between the inmate and his medical provider on whether his risks for

COVID-19 are greater at home or at the institution. (Id.) In addition, Health Services is

diligently completing the medical summaries necessary to process the Reduction in

Sentence/Compassionate Release requests that have been requested and are complying with all

deadlines for this important process. (Id.) While Mr. Pena is not yet eligible under the BOP’s

program, other inmates are eligible and have been moved, or in the process of being moved, to

home confinement. (Burke Decl. ¶ 26.) As of April 24, 2020, FMC Devens has moved eight

inmates to home confinement, and 12 more are being vetted for approval. (Id.)




                                                 8
        Case 1:16-cr-10236-MLW Document 175 Filed 04/27/20 Page 9 of 21



       III.    The Circumstances of the First Positive Case at FMC Devens Demonstrate
               that the Facility’s Procedures are Working.

       Despite the spread of COVID-19 worldwide since the fall, FMC Devens did not have its

first confirmed case until April 24, 2020. As the undersigned Assistant U.S. Attorney

understands based on conversations with BOP, the affected inmate had been placed in 14-day

quarantine after returning from medical treatment at an outside facility and was tested after he

began exhibiting COVID-19 symptoms during quarantine. The inmate, therefore, does not

appear to have been in contact with other inmates at FMC Devens while infected, and BOP staff

believe, based on the circumstances, that the inmate became infected while at the outside medical

facility. It is also worth noting that the inmate resides in the separate Federal Medical Center,

not the Camp where Mr. Pena resides. Thus, the circumstances of this particular infection

actually demonstrate the effectiveness of the facility’s procedures in protecting inmates and staff,

not to mention the lack of risk to Mr. Pena personally.

                                          ARGUMENT

       Mr. Pena’s motion should be denied because, as discussed below, (1) his fear of being

infected by COVID-19 and his particular health conditions are not, together or individually,

“extraordinary and compelling reasons” under § 3582(c) for drastically reducing his sentence,

and (2) he has not exhausted his administrative remedies, as required by 18 U.S.C. § 3582(c).

       1.      Mr. Pena Has Failed to Demonstrate “Extraordinary and Compelling
               Reasons” under 18 U.S.C. § 3582(c) for Drastically Modifying His Sentence.

       Under 18 U.S.C. § 3582(c), a court generally “may not modify a term of imprisonment

once it has been imposed,” except in limited circumstances.1 In this case, Mr. Pena moves to




1
       Those circumstances are: (1) upon a motion for reduction in sentence under 18 U.S.C.
§ 3582(c)(1)(A); (2) “to the extent otherwise expressly permitted by statute or by Rule 35 of the


                                                 9
       Case 1:16-cr-10236-MLW Document 175 Filed 04/27/20 Page 10 of 21



modify his sentence under 18 U.S.C. § 3852(c)(1)(A), whereby a court may reduce a prisoner’s

sentence “if it finds that” (1) “extraordinary and compelling reasons warrant such a reduction”

and (2) the reduction is “consistent with applicable policy statements issued by the Sentencing

Commission.” As the proponent of release, Mr. Pena bears the burden of proving that

“extraordinary and compelling reasons” exist. See United States v. Butler, 970 F.2d 1017, 1026

(2d Cir. 1992) (“If the defendant seeks decreased punishment, he or she has the burden of

showing that the circumstances warrant that decrease.”)

       Section § 3582 does not define “extraordinary” or “compelling,” but the Sentencing

Guidelines Policy Statement, U.S.S.G. § 1B1.13, makes clear that the circumstances are

exceedingly narrow. Application Note 1 to U.S.S.G. § 1B1.13, states in pertinent parts that

extraordinary and compelling reasons exist when:

       (A) Medical Condition . . .

               (ii) The defendant is — (I) suffering from a serious physical or medical
               condition, (II) suffering from a serious functional or cognitive impairment,
               or (III) experiencing deteriorating physical or mental health because of the
               aging process, that substantially diminishes the ability of the defendant to
               provide selfcare within the environment of a correctional facility and from
               which he or she is not expected to recover.

       (B) Age of the Defendant – The defendant (i) is at least 65 years old; (ii) is
       experiencing a serious deterioration in physical or mental health because of the
       aging process; and (iii) has served at least 10 years or 75 percent of his or her term
       of imprisonment, whichever is less.

       ***

       (D) Other Reasons. — As determined by the Director of the Bureau of Prisons,
       there exists in the defendant’s case an extraordinary and compelling reason other
       than, or in combination with, the reasons described in subdivisions (A) through (C).

       Considering the very limited circumstances under which a court can modify a sentence


Federal Rules of Criminal Procedure,” 18 U.S.C. § 3582(c)(1)(B); and (3) where the defendant
was sentenced based on a retroactively lowered sentencing range, 18 U.S.C. § 3582(c)(2).


                                                10
       Case 1:16-cr-10236-MLW Document 175 Filed 04/27/20 Page 11 of 21



under § 3582(c), Mr. Pena has not demonstrated extraordinary and compelling reasons for his

release on home confinement:

       First, Mr. Pena fails to meet any of the criteria outlined in U.S.S.G. § 1B1.13. Mr. Pena

is not suffering from any serious physical or medical condition, serious functional or cognitive

impairment, or substantially diminished ability to provide selfcare. While he is over 65, he is

not experiencing a serious age-related deterioration, and he has not served at least 10 years or

75 percent of his or her term of imprisonment. And the Director of the Bureau of Prisons,

rather than proffering a reason Mr. Pena should be released to home confinement, has

determined the opposite, that he should remain incarcerated, even considering the facts and

circumstances of his heath and the current pandemic.2

       Second, although Mr. Pena lists multiple conditions—some verifiable, some overstated,

and most unsubstantiated3—in order to justify his particularized susceptibility to COVID-19,


2
        Some courts have ruled that Application Note 1(D) suggests they have the “discretion to
grant compassionate release motions on grounds that are distinct from, but of similar magnitude
and importance to, those specifically enumerated in Application Note 1.” See, e.g., United States
v. Pinto-Thomaz, 18-cr-597 (JSR), 2020 WL 1845875, at *2 (S.D.N.Y. Apr. 13, 2020). This,
however, ignores that such reasons must be “[a]s determined by the Director of the Bureau of
Prisons,” which has not occurred here. In any event, even those courts reading Application Note
1’s language broadly agree that the exceptions that justify a change in sentence are exceedingly
narrow. See, e.g., id.
3
        The United States agrees that Mr. Pena presents with at least one verifiable risk factor for
complications from COVID-19 based on the risk factors identified by the Centers for Disease
Control (“CDC”)—his age (70). But that, alone, is not an “extraordinary and compelling reason”
for release. See, e.g., United States v. Haney, No. 19-cr-541-JSR, 2020 WL 1821988, at *5
(S.D.N.Y. Apr. 13, 2020) (If a 60-year-old defendant’s age “alone were a sufficient factor to
grant compassionate release . . . every federal inmate in the country above the age of 60 should
be forthwith release from detention, a result that does not remotely comply with the limited
scope of compassionate release . . . .”).
        His motion claims that he presents with other factors but fails to substantiate to what
extent those complications present a substantial risk of serious complications from COVID-19.
This is, in part, because his motion lacks any supporting medical records or affidavits from
medical professionals backing up his claims and, in part, because some of his claimed risks seem


                                                11
       Case 1:16-cr-10236-MLW Document 175 Filed 04/27/20 Page 12 of 21



the fear of infection during incarceration is not an extraordinary or compelling reason

warranting home confinement under the circumstances. As the Third Circuit opined in United

States v. Raia, “the mere existence of COVID-19 in society and the possibility that it may

spread to a particular prison alone cannot independently justify compassionate release,

especially considering BOP's statutory role, and its extensive and professional efforts to curtail

the virus's spread.” -- F.3d --, 2020 WL 1647922, at *2 (3d Cir. Apr. 2, 2020); cf. United States

v. Korn, No. 15-CR-81S, 2020 WL 1808213, at *6 (W.D.N.Y. Apr. 9, 2020) (“[I]n this Court’s

view, the mere possibility of contracting a communicable disease such as COVID-19, without

any showing that the Bureau of Prisons will not or cannot guard against or treat such a disease,

does not constitute an extraordinary or compelling reason for a sentence reduction under the

statutory scheme.”) (emphasis in original) The spread of the virus within the United States puts

everyone at some degree of risk of getting sick, but as discussed above, the BOP has taken

appropriate steps to mitigate those risks throughout its inmate population, and the

implementation of those at FMC Devens, where Mr. Pena is incarcerated, are proving effective.



overstated to meet CDC risk factors. As examples of this last point, Mr. Pena suggests that: (i)
because he received corticosteroids during this lifetime he meets the CDC risk factor of being
immunocompromised by prolonged use of corticosteroids (Mot. at 5); (ii) because he has been
diagnosed as pre-diabetic he meets the CDC risk factor of being diabetic (id.); and (iii) because
he has been told by someone that his kidneys are compromised he meets the CDC risk factor for
chronic kidney disease undergoing dialysis (id.). He also cites his race as a risk factor, but while
the government is aware of data suggesting that minorities have heightened risk for
complications from COVID-19, that is not a factor currently cited by the Centers for Disease
Control. (See https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-at-
higher-risk.html; but cf. https://www.cdc.gov/coronavirus/2019-ncov/need-extra-
precautions/racial-ethnic-minorities.html (discussing data concerning minorities).) The Court,
therefore, should view Mr. Pena’s proffered medical conditions with some skepticism, as
presently presented to the Court. Cf. United States v. Washington, No. 14-CR-215, 2020 WL
1969301, at *1 (W.D.N.Y. Apr. 24, 2020) (“But without any medical evidence or the opinion of
a physician, this Court is unable to conclude that Washington falls within that category. Stated
more simply, this Court has no medical evidence upon which to conclude that COVID-19 poses
increased lethality to Washington.”)


                                                 12
       Case 1:16-cr-10236-MLW Document 175 Filed 04/27/20 Page 13 of 21



As another court put it, Mr Pena “has also not shown that the plan proposed by the Bureau of

Prisons is inadequate to manage the pandemic within [the] correctional facility, or that the

facility is specifically unable to adequately treat [him].” United States v. Gileno, No. 3:19-cr-

161-(VAB), 2020 WL 1307108, at *4 (D. Conn. Mar. 19, 2020).

       If the Court denied Mr. Pena’s motion, it would be among many courts not finding

“extraordinary and compelling reasons” for a sentence reduction due to COVID-19. See, e.g.,

United States v. Shah, No. 16-20457, 2020 WL 1934930, at *2 (E.D. Mich. Apr. 22, 2020)

(“[S]peculation as to whether COVID-19 will spread through Defendant’s detention facility,

FCI Morgantown, whether Defendant will contract COVID-19, and whether he will develop

serious complications, does not justify the extreme remedy of compassionate release.

Defendant’s current medical conditions are not out of the ordinary, nor does Defendant claim

they are fatal or untreatable.”) In fact, many courts have denied motions from inmates with

similar or worse medical conditions than Mr.Pena and who are residing in institutions with

more instances of COVID-19. See, e.g., United States v. Feiling, No. 3:19cr112 (DJN), 2020

WL 1821457, at *7-8 (E.D. Va. Apr. 10, 2020) (denying release for 71-year-old suffering from

a variety of ailments putting him at risk of an adverse outcome from COVID-19 because he

does not show a greater risk of contracting the disease in prison, in relation to his risk in the

community); Korn, 2020 WL 1808213, at *4 (denying release for 62-year-old defendant “with

cerebral palsy and a range of cardiac, vascular and pulmonary diseases” because he has not

established that BOP facility with 40 confirmed cases has an inadequate plan for preventing

infection and treating defendant, if infected).4 To be sure, courts have granted compassionate


4
       Additional cases: United States v. Washington, No. 14-CR-215, 2020 WL 1969301, at *1
(W.D.N.Y. Apr. 24, 2020) (“generalized claim of asthma, without more, is not a sufficiently
extraordinary and compelling reason for a sentence reduction under 18 U.S.C. § 3582(c)(1)(A)”);


                                                  13
           Case 1:16-cr-10236-MLW Document 175 Filed 04/27/20 Page 14 of 21



 release motions based on COVID-19, but those mostly seem to involve defendants (i) with

 more serious ailments than Mr. Pena and (ii) who have served most of their incarcerative

 sentence, unlike Mr. Pena. See, e.g., United States v. McCarthy, NO. 3:17-CR-0230 (JCH),

    2020 WL 1698732, at *2 (D. Conn. Apr. 8, 2020) (defendant has 26 days remaining on

    sentence; “is 65 years old and suffers from a host of medical ailments, including chronic

    obstructive pulmonary disease . . . and asthma”).5


United States v. Fry, No. CR111414PAMKMM, 2020 WL 1923218, at *1 (D. Minn. Apr. 21,
2020) (denying compassionate release for COVID-19 for defendant who is 66-years old, obese,
and has heart disease and high blood pressure); United States v. Aguila, No. 2:16-cr-00046-TLN,
2020 WL 1812159, at *1-2 (E.D. Cal. Apr. 9, 2020) (The defendant “claims he has high blood
pressure, high cholesterol, sleep apnea, and diabetes, [but] fails to provide evidence to verify
these claims,” and his “arguments about COVID-19 are too general and wide-ranging.”); United
States v. Credidio, No. 19 Cr. 111 (PAE), 2020 WL 1644010, at *1 (S.D.N.Y. Apr. 2, 2020)
(denying motion of 72-year-old inmate deemed by BOP to be at high risk of COVID-19
complications, because “a lengthy term of imprisonment is required for [the defendant] for all
the reasons reviewed at sentencing”); United States v. Hamilton, No. 19-cr-54-01, 2020 WL
1323036, at *2 (E.D.N.Y. Mar. 20, 2020) (finding that the COVID-19 pandemic did not
constitute “a sufficiently compelling reason to justify release under [§ 3142(i) ]” despite
detainee’s high risk for infection because “there have been no reported incidents of COVID-
19 [at his facility] and [BOP] is taking system-wide precautions to mitigate the possibility of
infection within its facilities.”); United States v. Eberhart, No. 13-cr-00313-PJH-1, 2020 WL
1450745, at *2 (N.D. Cal. March 25, 2020) (“General concerns about possible exposure to
COVID-19 do not meet the criteria for extraordinary and compelling reasons for a reduction in
sentence set forth in the Sentencing Commission’s policy statement on compassionate release,
U.S.S.G. § 1B1.13.”); United States v. Garza, No. 10cr-1745-BAS, 2020 WL 1485782, at *2
(S.D. Cal. March 27, 2020) (denying motion for sentence reduction for 54-year old man with no
prior criminal record sentenced to 24 months); United States v. Lisi, No. 15 Cr. 457 (KPF), 2020
WL 881994, at *5 (S.D.N.Y. Feb. 24, 2020) (denying motion of defendant suffering from,
among other things, asthma and high blood pressure; “The sentencing factors weigh heavily
against the reduction of [the defendant’s] sentence to time served.”), reconsideration denied,
2020 WL 1331955 (S.D.N.Y. Mar. 23, 2020).
5
         Additional cases: United States v. Asaro, No. 17-cr-127 (ARR), 2020 WL 1899221, at
 *5-6 (E.D.N.Y. Apr. 17, 2020) (85-year-old suffered stroke, has expressive aphasia); United
 States v. Coker, No. 3:14-CR-085, 2020 WL 1877800, at *3 (E.D. Tenn. Apr. 15, 2020) (inmate
 with emphysema, COPD, and nearly 24-hour-per-day reliance on oxygen and a wheelchair,
 served more than half of 96-month term for drug offense); United States v. Burrill, No. 17-cr-
 00491-RS-1, 2020 WL 1846788, at *2-3 (N.D. Cal. Apr. 10, 2020) (75-year-old suffering from
 “asthma, high blood pressure, high cholesterol, diabetes, diverticulosis, blood clots, hearing loss,
 glaucoma, cataracts, and lower back nerve pain” served about half of 30-month sentence for


                                                   14
       Case 1:16-cr-10236-MLW Document 175 Filed 04/27/20 Page 15 of 21



       Third, Mr. Pena has not demonstrated how his release to home confinement would

reduce his risk of either contracting COVID-19 or developing serious complications from it,

compared to residing at FMC Devens. Home confinement is not necessary if it does not

alleviate the risk from the virus compared to incarceration. Whether Mr. Pena remains at FMC

Devens or sits at home, he still presents the same and is still at risk for contracting COVID-19.

Mr. Pena’s motion, however, falls flat on this point. It assumes, with few details, that his

particular home situation presents less risk of infection than FMC Devens. Other than

mentioning his wife, he does not describe, for example, the residence itself; whether others

reside there; whether or how frequently his wife or others residing at his home come and go;

whether or how frequently his wife or others residing at his home have contact with others

potentially infected with COVID-19, such as through work or other activities; whether his wife

or others residing at his home practice appropriate measures to prevent the spread of COVID-

19, such as those at FMC Devens. These are serious questions because, as of April 26, 2020,

Barnstable Country, where Mr. Pena’s home is located, has nearly 772 confirmed cases, and

neighboring Plymouth County, very close to Mr. Pena’s home, has 4,495. (See https://www.




investment adviser fraud); United States v. Hansen, No. 07-CR-00520(KAM), 2020 WL
1703672, at *7-10 (E.D.N.Y. Apr. 8, 2020) (72-year-old inmate with “laundry list” of serious
ailments served half of 20-year mandatory drug sentence that the sentencing judge thought was
excessive); United States v. Colvin, No. 3:19cr179 (JBA), 2020 WL 1613943, at *3-4 (D. Conn.
Apr. 2, 2020) (inmate with high blood pressure and diabetes with 11 days remaining on
sentence); United States v. Jepsen, No. 3:19-cv-00073(VLB), 2020 WL 1640232, at *5 (D.
Conn. Apr. 1, 2020) (“Mr. Jepsen is in the unique position of having less than eight weeks left to
serve on his sentence, he is immunocompromised and suffers from multiple chronic conditions
that are in flux and predispose him to potentially lethal complications if he contracts COVID-19,
and the Government consents to his release.”); United States v. Rodriguez, No. 2:03-cr-00271-
AB-1, 2020 WL 1627331, at *7 (E.D. Pa. Apr. 1, 2020) (inmate vulnerable due to Type 2
diabetes mellitus with diabetic neuropathy, essential hypertension, obesity, and “abnormal liver
enzymes in a pattern most consistent with non-alcoholic fatty liver disease,” has only one year
left on 20-year sentence).


                                                15
       Case 1:16-cr-10236-MLW Document 175 Filed 04/27/20 Page 16 of 21



boston.com/news/health/2020/03/09/updating-stats-numbers-covid-19-massachusetts, last

checked Apr. 27, 2020 at 11:22 am.)

       Given the prevalence of COVID-19 around Mr. Pena’s home, the Court should be

concerned that Mr. Pena’s release on home confinement may present more risk to his health

and his wife’s. For one, Mr. Pena’s wife is, as the government understands, nearly as old as

Mr. Pena and may have health conditions that put her at risk. If Mr. Pena is on home

confinement, his wife likely will be put in the position of caring for him—including venturing

outside the home to run errands and frequently exposing herself to COVID-19 infection and

possible complications. Moreover, on home confinement, Mr. Pena will be forced to seek

medical care in a community that more than 5,000 times more instances of COVID-19 than his

current environment. Like the FMC Devens inmate who likely became infected outside of

FMC Devens, Mr. Pena will be subject to greater risk of infection. Furthermore, if Mr. Pena or

his wife become infected with COVID-19 while he was on home confinement, it is not at all

clear that he or she could implement quarantine procedures like FMC Devens to avoid infecting

the other (or others in the home), or that he will have access to medical care equivalent to what

is available at FMC Devens (which contains its own on-site medical facility). As a result, the

Court cannot say that Mr. Pena’s “plan” for home confinement (whatever that is) actually

alleviates the issue concerning the potential of suffering serious complications from COVID-

19.6 Cf. United States v. Davenport, No. 17 Cr. 61 (LAP), 2020 WL 1814184, at *1 (S.D.N.Y.



6
        In contrast to Mr. Pena’s motion, before BOP would release a defendant to home
confinement, BOP would conduct a thorough assessment about whether that would be an
appropriate place for home confinement, and whether that location would be better for the
defendant than at FMC Devens. (Bourke Decl. ¶ 25). To the extent the Court is considering
releasing Mr. Pena, it should request that Probation conduct a similar assessment and base its
determination on the facts found by that assessment, rather than Mr. Pena’s proffers.


                                                16
        Case 1:16-cr-10236-MLW Document 175 Filed 04/27/20 Page 17 of 21



Apr. 9, 2020) (denying motion of defendant with diabetes and heart disease because “there are

no current cases of COVID-19 at Schuylkill but . . . Haverford, the town in which [the

defendant] proposes to be released, has one of the highest rates of COVID-19 infection in the

Commonwealth of Pennsylvania”).

        Finally, Mr. Pena’s motion fails to demonstrate that his release on home confinement

satisfies the relevant § 3553(a) factors, which the Court should consider in modifying a sentence

under § 3582(c). See 18 U.S.C. § 3582(c) (“the court . . . may reduce the term of imprisonment .

. . , after considering the factors set forth in section 3553(a) to the extent that they are

applicable”). In sentencing Mr. Pena to a 32-month term of imprisonment, the Court emphasized

the need for a tough sentence:

        And with regard to the nature and circumstances of the offense, you did commit a
        very serious crime, and you committed it over a long period of time. It takes
        planning and energy and determination to misrepresent what’s happening with the
        payments on mortgages in many cases and to get the books fraudulently prepared
        in anticipation of audits. And, you know, you were a beneficiary of a government
        program that aimed to teach you how to do this business that had the potential and
        probably was for a period of time a lucrative business and to share—you know, to
        benefit from expanded opportunities for home ownership that Ginnie Mae has
        constituted to provide. And by engaging in fraud, you may have discouraged
        opportunities for other people to get into this business who might not have been
        bred to it, to become bankers in effect, and injured the ability of Ginnie Mae to
        serve its important mission. $2.5 million is a lot of money. You know that.

(Sentencing Trans. [Dkt. No. 163] at 37:18-38:8.) In addition to also considering Mr. Pena’s

personal circumstances, including his charitable works, and his family and medical history (id. at

38:9-13), the Court also noted the need to deter others from similar crimes “because fraud is a

crime of calculation” (id. at 30:17-18):

        [I]n these fraud cases, the interest of general deterrence is in my view an important
        consideration that there are other people out there whose businesses are in distress,
        and they would like to keep those businesses and keep profiting from those
        businesses, and they may be tempted to engage in fraud, and they may calculate
        that they won’t get caught. If they get caught, they won’t get convicted. If they get
        convicted, they won’t have to go to prison, or for very long. And hopefully this


                                                   17
       Case 1:16-cr-10236-MLW Document 175 Filed 04/27/20 Page 18 of 21



       sentence as effectively as a 50-month sentence [the government recommends] or
       comparably to a 50-month sentence would send the message that’s a
       miscalculation. You will get caught. You will get convicted, and you will get a
       serious punishment.

(Id. at 39:14-25.)

       These reasons, which the Court found required 32 months’ incarceration, are the same

today as they were on the day of sentencing. Indeed, the need for general deterrence in fraud

cases requires particular emphasis now, where more people’s businesses are in distress and may

be tempted, as Mr. Pena was, to turn to fraud to keep them afloat and continuing profiting. Even

Mr. Pena, himself, agreed that he deserved a substantial incarcerative sentence; as the Court may

recall, he requested a sentence that included 24 months’ imprisonment, consistent with his plea

agreement with the government. Mr. Pena’s generalized concerns about risk of infection do not

diminish or outweigh these reasons.

       2.      Mr. Pena Failed to Exhaust His Administrative Remedies.

       Putting aside the issues with the merits of Mr. Pena’s motion, the compassionate release

statute, 18 U.S.C. § 3582(c), provides that except in limited circumstances, a “court may not

modify a term of imprisonment once it has been imposed.” 18 U.S.C. § 3582(c). That statute

further requires that a request for compassionate release be presented first to the BOP for its

consideration. Only after 30 days have passed, or the defendant has exhausted all administrative

rights to appeal the BOP’s failure to move on the defendant’s behalf, may a defendant move for

compassionate release in court. Id.7 That restriction is mandatory, as the Third Circuit recently



7
       The statute reads, in relevant part:
       The court may not modify a term of imprisonment once it has been imposed except
       that—
       (1)     in any case—


                                                 18
       Case 1:16-cr-10236-MLW Document 175 Filed 04/27/20 Page 19 of 21



confirmed: where 30 days have not passed following presentation of a request to a warden, the

statute “presents a glaring roadblock foreclosing compassionate release at this point.” Raia,

2020 WL 1647922, at *2.8 Because Mr. Pena has not exhausted all administrative remedies, and

30 days have not passed since he applied to the BOP for compassionate release in which to allow

that administrative process to proceed, the Court lacks authority to act on Mr. Pena’s motion.

       While Mr. Pena argues that the Court can skip past the procedural prerequisites in

§ 3582(c), that argument is not supported by the plain language of the statute, and this Court

recently held that exhaustion is required. United States v. Muniz, No. 16-cr-10170-MLW (D.

Mass. Apr. 16, 2020. Although Mr. Pena cites some cases concluding that exhaustion is not

required, the vast majority of district courts that have reached the issue have also required

exhaustion, consistent with this Court’s determination in Muniz. See, e.g., United States v.

Ogarro, 18 Cr. 373 (RJS) (S.D.N.Y., April 14, 2020) [Dkt. 666, at 6]. (“[S]ection 3582’s




       (2)     . . . (A) the court, upon motion of the Director of the Bureau of Prisons, or
       upon motion of the defendant after the defendant has fully exhausted all
       administrative rights to appeal a failure of the Bureau of Prisons to bring a motion
       on the defendant’s behalf or the lapse of 30 days from the receipt of such a request
       by the warden of the defendant’s facility, whichever is earlier, may reduce the term
       of imprisonment . . . .
Id. § 3582(c)(1)(A).
8
         As the Supreme Court has recognized, finality is an important attribute of criminal
judgments, and one “essential to the operation of our criminal justice system.” Teague v. Lane,
489 U.S. 288, 309 (1989) (plurality opinion). Accordingly, it is well established that once a
district court has pronounced sentence and the sentence becomes final, the court has no inherent
authority to reconsider or alter that sentence. Rather, it may do so only pursuant to statutory
authorization. See, e.g., United States v. Addonizio, 442 U.S. 178, 189 & n.16 (1979); United
States v. Washington, 549 F.3d 905, 917 (3d Cir. 2008); United States v. Smartt, 129 F.3d 539,
540 (10th Cir. 1997) (“A district court does not have inherent authority to modify a previously
imposed sentence; it may do so only pursuant to statutory authorization.”) (internal quotation
marks omitted)


                                                 19
       Case 1:16-cr-10236-MLW Document 175 Filed 04/27/20 Page 20 of 21



exhaustion requirement is clear as day.”).9 Thus, Mr. Pena’s failure to exhaust his administrative

remedies is an alternate reason to deny his motion.

                                        CONCLUSION

       Even if Mr. Pena had exhausted his administrative remedies, he has failed to demonstrate

“extraordinary and compelling reasons” for reducing the incarcerative portion of his sentence by

80% (and by 18 months less than he recommended at sentencing). He is understandably worried

about infection, as we all are, but he has not demonstrated that FMC Devens is not taking

adequate measures to prevent infection or would not appropriately treat him if he became

infected. Equally important, he has not carried his burden of demonstrating that home

confinement, in his circumstances, is appropriate under 18 U.S.C. § 3553(a) or a safer or more

workable alternative.10




9
        Additional cases: United States v. Rabadi, 13 Cr. 353 (KMK) (S.D.N.Y., April 14, 2020)
[Dkt. 93, at 5-6] (noting “vast majority” of cases holding that prisoners must exhaust
administrative remedies). Some of the many cases finding that exhaustion is required: Roberts,
18-CR-528-5 (JMF), 2020 WL 1700032, at *2 (S.D.N.Y. April 8, 2020); United States v.
Canale, No. 17 Cr. 287 (JPO), 2020 WL 1809287, at *1 (S.D.N.Y. Apr. 9, 2020); United States
v. Woodson, No. 18 Cr. 845 (PKC), 2020 WL 1673253, at *4 (S.D.N.Y. Apr. 6, 2020); United
States v. Weiland, No. 18 Cr. 273 (LGS), 2020 WL 1674137, at *1 (S.D.N.Y. Apr. 6, 2020);
United States v. Johnson, No. 14-CR-4-0441, 2020 WL 1663360, at *1 (D. Md. Apr. 3, 2020);
United States v. Carver, No. 19 Cr. 6044, 2020 WL 1604968, at *1 (E.D. Wa. Apr. 1, 2020);
United States v. Clark, No. 17 Cr. 85 (SDD), 2020 WL 1557397, at *3 (M.D. La. Apr. 1, 2020);
United States v. Hernandez, No. 18 Cr. 834 (PAE), 2020 WL 1445851, at *1 (S.D.N.Y. Mar. 25,
2020); United States v. Cohen, No. 18 Cr. 602 (WHP), 2020 WL 1428778, at *1 (S.D.N.Y. Mar.
24, 2020).
10
        For the reasons herein, the government also opposes Mr. Pena’s motion for an indicative
ruling [Dkt. No. 173].


                                               20
       Case 1:16-cr-10236-MLW Document 175 Filed 04/27/20 Page 21 of 21



                                                      Respectfully submitted,

                                                      ANDREW E. LELLING
                                                      United States Attorney,
                                                      District of Massachusetts

                                                By: /s/ Brian M. LaMacchia      f
                                                    Brian M. LaMacchia
                                                    Assistant U.S. Attorney
                                                    John J. Moakley U.S. Courthouse
                                                    One Courthouse Way, Suite 9200
                                                    Boston, MA 02110
                                                    617-748-3126
Dated: April 27, 2020                               brian.lamacchia@usdoj.gov


                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF),
and paper copies will be sent to those indicated as non-registered participants.

                                                      /s/ Brian M. LaMacchia
                                                      Brian M. LaMacchia
                                                      Assistant U.S. Attorney
Dated: April 27, 2020




                                                 21
